                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                              Plaintiff,     )
                                             )
                v.                           )      No.     11-00015-12-CR-W-NKL
                                             )
MITZI S. DAMRON,                             )
                                             )
                              Defendant.     )


                           ACCEPTANCE OF PLEA OF GUILTY
                            AND ADJUDICATION OF GUILT

         Pursuant to the Report and Recommendation of United States Magistrate John

Maughmer, to which no objection has been filed, the plea of guilty is now accepted. Defendant

is adjudged guilty of such offense. Sentencing will be set by subsequent order of the court.




                                                     S/NANETTE K. LAUGHREY
                                                    NANETTE K. LAUGHREY
                                                    United States District Judge

Dated:    February 22, 2012




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